                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

Teja Ravi, Individually and on Behalf of               :
All Others Similarly Situated                          :
                                                       :              No. 20-1237C
       Plaintiff,                                      :              Judge Firestone
                                                       :
v.                                                     :
                                                       :
The United States of America                           :
                                                       :
       Defendant.                                      :



                    Plaintiff’s Opposition to Defendant’s Motion to Dismiss

       Plaintiff Teja Ravi (“Plaintiff”), by and through his attorneys, hereby opposes the Motion
to Dismiss filed by the United States and states as follows:

I . The United States is a correct and necessary party to this suit and this Court has
jurisdiction to hear the claims.

        To survive a Rule 12(b)(1) challenge to jurisdiction, the Federal Circuit has held
unambiguously that “jurisdiction . . . requires no more than a non-frivolous allegation of a
contract with the government.” Engage Learning, Inc. v. Salazar, 660 F.3d 1346, 1353 (Fed. Cir.
2011) (citing, e.g., Lewis v. United States, 70 F.3d 597, 602, 604 (Fed. Cir. 1995)); see also
Hanlin v. United States, 214 F.3d 1319, 1321 (Fed. Cir. 2000) (explaining that a non-frivolous
allegation of the existence of an implied-in-fact contract is sufficient to confer jurisdiction unless
another statute divests the court of jurisdiction). When ruling on a motion to dismiss for lack of
jurisdiction, the court must “accept as true all undisputed facts asserted in the plaintiff’s
complaint and draw all reasonable inferences in favor of the plaintiff.” Id. (citing Henke v.
United States, 60 F.3d 795, 797 (Fed. Cir. 1995)).

        Jurisdiction is established here as Mr. Ravi has alleged a non-frivolous allegation of
contract with the government. A contractual relationship was formed between Mr. Ravi and the
personnel from ICE, as there was offer, acceptance, and consideration. Additionally, the personnel
had the authority to contract with the students as they were given the orders to make offers to
students from their agency. (See Amended Complaint). These students had no idea that the United
States government was involved in creating a fake university, and they were assured that this was
a real university as ICE obtained real accreditation. When the offers were made to the students,
University of Farmington’s advertising portrayed it to be a real University, which would provide
educational services and degrees. The United States breached their agreement when they did not
provide the services as offered.




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II. In addition, the complaint should survive the motion to dismiss under RCFC 12(b)(6).

        Under RCFC 12(b)(6), a complaint will survive a motion to dismiss if it “contain[s]
sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual content that allows
the court to draw the reasonable inference that the defendant is liable for the misconduct
alleged.” Id. The factual matters alleged “must be enough to raise a right to relief above the
speculative level on the assumption that all the allegations in the complaint are true (even if
doubtful in fact).” Twombly, 550 U.S. at 555-56 (citations omitted). When reviewing the
complaint, “the court must accept as true the complaint’s undisputed factual allegations and
should construe them in a light most favorable to the plaintiff.” Cambridge v. United States, 558
F.3d 1331, 1335 (Fed. Cir. 2009) (citing Papasan v. Allain, 478 U.S. 265, 283 (1986))
(additional citation omitted). Conclusory statements of law and fact, however, “are not entitled to
the assumption of truth” and “must be supported by factual allegations.” Iqbal, 556 U.S. at 679.
“‘[N]aked assertion[s]’ devoid of ‘further factual enhancement’” are insufficient to state a claim.
Id. at 678 (quoting Twombly, 550 U.S. at 557); accord Bradley v. Chiron Corp., 136 F.3d 1317,
1322 (Fed. Cir. 1998) (“Conclusory allegations of law and unwarranted inferences of fact do not
suffice to support a claim.”).

        The government cites caselaw from 1984 and 1990 to make its determination of what the
government calls “the fourth element” for a breach of contract claim. Under Cincinnati v. United
States, there is a fourth requirement, “the government representative whose conduct is relied
upon must have actual authority to bind the government in contract.”

         According to more recent caselaw, a viable breach of contract claim requires “four
elements: 1) a valid contract between the parties; 2) an obligation or duty arising from that
contract; 3) a breach of that duty; and 4) damages caused by that breach.” Claude Mayo Constr.
Co., v. United States, 132 Fed. Cl. 634, 637 (2017) (citing San Carlos Irrigation & Drainage
Dist. v. United States, 877 F.2d 957, 959 (Fed. Cir. 1989)). Mr. Ravi has plead all of those
elements. See complaint.

       While not an element of contract, Mr. Ravi concedes that there is an authority
requirement for which the government references. Mr. Ravi has amended his complaint to
include allegations that the government officials who were operating the University of
Farmington had the actual authority to operate the University of Farmington; including that the
government had the actual authority to contract with the students. Mr. Ravi specifically alleges,
“The law enforcement personnel from U.S. Immigration and Customs Enforcement, Homeland
Security Investigations whose conduct bound the Defendant in contract with the Plaintiff and the
Class members had actual authority to bind the government in contract, because forming these
contracts was necessary and essential to the successful performance of the agents’ assigned tasks
and duties regarding carrying out the Farmington scheme.” See Amended Complaint, page 10.

       Discovery will allow the plaintiffs to further identify the United States personnel involved.
A government’s representative must have had actual authority to bind the students in contract, as
the personnel were given the authority to proceed with the sting operation and take the student
money. By accepting the benefits of the tuition money, ICE was bound by the promise to provide


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education services to plaintiff. Mr. Ravi should be made whole, as he did not receive the services
promised by the contract, and instead he was swindled out of $12,000. The government specifically
demonstrated its intent to provide a service in consideration for the $12,000.

      Zhu differs from this case as the plaintiff in that case did not allege offer and acceptance
and he did not allege that a government’s representative had actual authority to bind the
government in contract. This case alleges offer, acceptance, and actual authority by the
government officials. See Amended Complaint.

        We know that the agents were given the authority to carry out this plot, when the
government revealed its involvement. As in this case, when a Defendant has not provided
sufficient facts to render Plaintiff’s theory of authority implausible, the Court has ordered
discovery. See Mendez v. United States, 121 Fed. Cl. 370, 386 (2015).

III. This involves a Contract Dispute and the Gravamen is Actually in Contract, Not in Tort

        The court has found that a plaintiff’s claim “is not barred simply because it can be stated
as a tort.” Dakota Tribal Indus. v. U.S., 34 Fed. Cl. 295 (1995). It is s a contract as long as a
“contractual obligation” is breached, even if it’s also a tort. See also Morris v. U.S., 33 Fed. Cl.
733. The plausible existence of a tort does not, as the defendant claims, wipe out all contract law
and the potential for a cause of action under contract law.

       The agents made clear their intent to provide educational services. The written and verbal
statements manifested an intent to form a binding agreement. The allegations regarding authority
have crossed the line from convincible to plausible. See Exhibit 1 and 2, Invoices and Website.
There was a clear intent to contract; this is seen in the Farmington’s offer, the student’s acceptance,
and acceptance of the consideration of the tuition money.

        A breach of contract claim is not barred by torts that the government committed, regarding
which the victims have no real means of redress. Misrepresentation is not recoverable under the
Federal Torts Claim Act. The government’s negligence, in creating the contracts with the students
and taking their money, may or may not be recoverable under negligence theory under the Federal
Torts Claims Act. The breach of contract claims are the most viable claims, and this court is the
appropriate place to litigate those claims. Thus, Mr. Ravi’s prayer for relief from the government’s
actions should be heard, and this honorable court should deny the government’s motion to dismiss.

IV. The Sovereign Capacity Doctrine does not Bar Mr. Ravi’s Lawsuit because the
government stepped off of its throne to engage in the sale of educational services.

        The government stepped off its throne to engage in the sale of educational services. Even
if they did not provide the services promised, the government should not be rewarded for the
misrepresentations that it made in the act of offering and selling the educational services.

        When the government created a website and marketed educational services, it was
undeniably acting in the private sphere. There was undeniably an express contract, or in the
alternative – implied contract, for educational services. This contract was ratified by the tuition
money that the government took from the students.



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        The government admits that ICE law enforcement officers engaged in these activities.
The government does not contend that it was contractors, but the University of Farmington was
“staffed” with “law enforcement personnel from U.S. Immigration and Customs Enforcement,
Homeland Security Investigations”. See Motion to Dismiss, 2. Defendant concedes that there
were DHS HSI agents operating the University of Farmington.

        There is no requirement for Plaintiff to identify any specific person with authority at this
juncture. The specific people will be better identified during a period of discovery, as it appears
that the ICE personnel used codenames to interact with the students. None of the cases that
Defendant cites suggests that it is necessary to identify the specific agents pre-discovery, as their
true identities will most likely only be revealed through discovery.

       The motion to dismiss should be denied and discovery should be ordered, as the student
contracts at issue were only tangentially related to carrying out a law enforcement purpose. HSI
agents have previously said the law enforcement purpose was to “identify recruiters and entities
engaged in immigration fraud”. The student contracts were made to further that law enforcement
purpose. The students, who bring the current action, were not suspected of criminal activity. The
student contracts were made for a proprietary and not a sovereign purpose, just like how a
contract for ICE to buy guns would be a proprietary contract even though it’s connected to a law
enforcement purpose. This Court should deny the government’s motion to dismiss because the
government stepped off its throne to engage in the sale of educational services. The government
was not acting in a sovereign capacity when forming these contracts as the student contracts
were only tangentially related to carrying out a law enforcement purpose.

        This case is analogous to Sommers Oil Co. v. United States, 241 F.3d 1375 (Fed. Cir.
2001). Sommers Oil Co. concerned a government contract made as part of an undercover
criminal investigation into tax fraud. The Court found that, despite the contract being part of a
criminal investigation, the Court had jurisdiction under the Tucker Act to enforce the contract as
long as doing so 1) would not disrupt an active criminal case and 2) would not requiring paying
monetary damages for seized contraband. Id. at 1378–79 (“If, as Sommers alleges, it has a legal
right to the funds as the product of a contractual undertaking by the government to turn those
funds over to Sommers, the fact that the government had a temporary need to use the funds as
evidence in a criminal case does not defeat Sommers' right to obtain the funds” unless it is
contraband). Here, enforcing the contract would also not disrupt the outcome of a criminal case
or concern contraband. The students contracted to pay for legitimate educational services. This is
what differentiates both Sommers Oil Co. and the present matter from Silva, where the
government contracted to trade the Plaintiff for contraband. (In Silva, the contraband was
illegally imported parrots).

        The sovereign capacity doctrine is meant to protect the “delicate and sensitive business of
conducting criminal trials” and their civil enforcement analogues, and covers plea agreements,
witness protection agreements, immunity agreements, civil enforcement agreements, and
undercover law enforcement actions to recover contraband. Aluminum Shapes, LLC v. United
States, 139 Fed. Cl. 709, 714 (2018). It is not meant to give law enforcement free reigning power
to avoid enforcement of every contract they make. As Sommers Oil Co. shows, contracts that
tangentially serve an undercover law enforcement purpose, but whose enforcement does not



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directly disrupt a civil or criminal enforcement action, are made in the government’s proprietary
capacity.

        An agreement entered into by the government falls within the sovereign realm, excluding
Tucker Act jurisdiction, only where it is the sort that can only be executed by the sovereign such
as plea, witness protection, informant and other forms of criminal agreements. 28 U.S.C.A. §
1491(a). See Stovall v. United States, 71 Fed. Cl. 696 (2006). Agreements entered into by the
government which fall within the proprietary realm, and thus within Tucker Act jurisdiction,
include not only the principal class of contract involving the procurement of goods, lands, and
services, but any other agreement undertaken by the federal government that has a private
analogue, that is, categorically of the sort that can be executed among private entities and
individuals. 28 U.S.C.A. § 1491(a). Id. Educational services are categorically of the sort that can
be executed among private entities and individuals. Thus, agreements for educational services
fall within the proprietary realm. As agreements for educational services are in the proprietary
realm versus the sovereign realm, these agreements in these cases fall within Tucker Act
jurisdiction.

        This case is analogous to the Trump University case in the sense that the students were
promised educational services that were not received and swindled out of their money. See
Makaeff v. Trump University, Case No. 10 CV 9040 IEG WVG, filed in Southern District of
California. The personnel operating the University of Farmington stepped off their throne to
engage in the sale of services similar to the Trump defendants, in the sense that they offered
services and the students paid for services that were not received. Thus, as these contracts were
only tangentially related to carrying out law enforcement purposes, the Motion to Dismiss should
be denied.

VI.    The government’s acceptance of the benefit of the tuition money ratified Mr. Ravi’s
contract.

         A government contract not initially made with actual authority to bind the government
can later be ratified. Where there is not initially authority to “bind the United States in contract,
the government can still be bound by contract if the contract was ratified by an official with the
necessary authority.” Estes Express Lines v. United States, No. 11-597C, 2017 U.S. Claims
LEXIS 930, at *15-16 (Fed. Cl. Aug. 8, 2017) (Janowsky v. United States, 133 F.3d 888, 891-92
(Fed. Cir. 1998). “Institutional ratification occurs when the government "seeks and receives the
benefits from an otherwise unauthorized contract.” Estes Express Lines v. United States, No. 11-
597C, 2017 U.S. Claims LEXIS 930, at *16 n.3 (Fed. Cl. Aug. 8, 2017) (internal citation
omitted). Following Janowsky, the Federal Court of Claims has recognized that institutional
ratification requires both the “government’s acceptance of benefits” and that “an official with the
power to ratify must also know of the unlawful promise”. Liberty Ammunition, Inc. v. United
States, 119 Fed. Cl. 368, 406 (2014). Ratifying officials can have “actual or constructive
knowledge of the unauthorized acts.” Doe v. United States, 58 Fed. Cl. 479, 486 (2003). The
existence of written communications underlying the contract is considered to be good evidence
of “knowledge”, even if those written communications were not made with necessary authority.
See Id. at 487. (“In many cases, one indicator of knowledge is the presence of some written
communication between the parties.). In one case, a Court interpreted Janowsky to recognize



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institutional ratification only where the factors also included “that the agents lacking contracting
authority had some similar type of authority, that at least some agents were aware of a proposed
agreement detailing the plaintiff's contractual remuneration, and that the Government received a
direct benefit from the unauthorized contract.” Id. at 486.

        Here, the accepted benefit was the tuition money that the government kept, and has never
returned. The department later carried out raids based on people’s status as a student of
Farmington (the false I-9s that ICE issued were apparently not valid, even though the students
did not know this at the time), a status which was totally dependent on the student having
previously made a contract with the ICE agents running Farmington. Thus, at that time, the
government must have had actual or constructive knowledge of the contracts. Furthermore,
underlying this contract was written communications between the students and the ICE agents,
including registration documents, invoices, and receipts sent to the students or visible to them
through the Farmington website. There was institutional ratification of the contracts.

       For contracts, courts do not look to the internal desires of the parties; rather the courts look
to express intent of the parties.

       WHEREFORE, Plaintiff respectfully requests that this Court deny the government’s
motion to dismiss.




                                               Respectfully submitted,

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